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                    IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MONTANA
                              BILLINGS DIVISION

UNITED STATES OF AMERICA,
                                                   CR 19-46-BLG-SWS
                      Plaintiff,

      v.
                                                  ORDER DENYING DEFENDANT’S
BRANDON BEST GORDON,                              MOTION TO RECONSIDER
    aka Brandon Brooks Gordon,                    DENIAL OF COUNSEL FOR § 2255
                                                  MOTION AND REQUEST FOR
                      Defendant.                  EXTENSION OF TIME


       This matter comes before the Court on Defendant Brandon Gordon’s pro se motion

requesting the Court reconsider its earlier denial of counsel for § 2255 purposes and an

extension of time in which to file his § 2255 motion. (Doc. 124.)

       Turning first to his renewed request that the Court appoint him an attorney to pursue

a motion under 28 U.S.C. § 2255, “there is no constitutional right to counsel at a collateral,

post-conviction section 2255 proceeding.” Pavulak v. Blanckensee, 7 F.4th 871, 873 (9th

Cir. 2021) (quoting Sanchez v. United States, 50 F.3d 1448, 1456 (9th Cir. 1995)). The

appointment of counsel for a motion under 28 U.S.C. § 2255 is governed by 18 U.S.C. §

3006A. 28 U.S.C. § 2255(g). That section states in relevant part, “Whenever the United

States magistrate judge or the court determines that the interests of justice so require,

representation may be provided for any financially eligible person who … is seeking relief

under section 2241, 2254, or 2255 of title 28.” 18 U.S.C. § 3006A(a)(2)(B). The

appointment of counsel is warranted “when the complexities of the case are such that


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denial of counsel would amount to a denial of due process.” Brown v. United States, 623

F.2d 54, 61 (9th Cir. 1980); see Weygandt v. Look, 718 F.2d 952, 954 (9th Cir. 1983) (“In

deciding whether to appoint counsel in a habeas proceeding, the district court must

evaluate the likelihood of success on the merits as well as the ability of the petitioner to

articulate his claims pro se in light of the complexity of the legal issues involved.”)

       In Mr. Gordon’s request for reconsideration, he contends the Court erred by failing

to consider his lifelong learning disabilities. (Doc. 124 p. 2.) He also set forth five

potential grounds for relief and supported each ground with explanation and argument.

(Id. pp. 2-14.) In Mr. Gordon’s earlier motion for counsel, he described his learning

disabilities (Doc. 122), and the Court previously considered them as well as his other

reasons for requesting an attorney. The Court stated, “From Mr. Gordon’s logical and

clearly-presented motion, the Court finds no reason he cannot present these issues in a §

2255 motion in an understandable manner without the assistance of a lawyer.” (Doc. 123

p. 2.) After reviewing his request for reconsideration, the Court is even more convinced

that Mr. Gordon can clearly and logically present a § 2255 motion without the assistance of

an attorney. Over 12 handwritten pages, he supported five potential grounds for relief

with argument and a discussion of the facts developed at trial. Moreover, the facts and

applicable law are not so complex as to demand the appointment of counsel. The Court

continues to find the interests of justice do not support a court-appointed attorney for Mr.

Gordon’s desired § 2255 motion and a denial of appointed counsel does not amount to a

denial of due process. Therefore, the request for reconsideration will be denied.



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        The Court will also deny his current request for an extension of time in which to file

a § 2255 motion. He asserts the Bureau of Prison facilities he has been at “have been

locked down for the past two years,” which has prevented him from accessing the law

library and conducting legal research. (Doc. 124 p. 1.) He seeks an extension “to allow

time for the pandemic to lessen” so he has time to use the legal resources to work on his §

2255 motion. (Id.)

        Generally, a § 2255 movant has one year form the date his conviction becomes final

to file a § 2255 motion. 28 U.S.C. § 2255(f)(1). Where, as here, the defendant does not

file a petition seeking a writ of certiorari in the U.S. Supreme Court, “his conviction

becomes final 90 days after the Circuit Court of Appeals renders its decision.” United

States v. Myrie, No. 2:06-CR-00239-RCJ, 2012 WL 2847747, at *3 (D. Nev. July 11,

2012) (citing Clay v. United States, 537 U.S. 522, 532 (2003); U.S. Sup. Ct. R. 13(1)).

The Ninth Circuit issued its judgment affirming Mr. Gordon’s conviction on June 24,

2021. United States v. Gordon, 851 F. App’x 89 (9th Cir. June 24, 2021). His deadline

to file a § 2255 motion is therefore September 22, 2022 (one year plus 90 days after the

Ninth Circuit’s judgment). As Mr. Gordon still has several months in which to file a §

2255 motion, and the severity of the COVID-19 pandemic appears to be “lessening” at this

current time thus likely allowing Mr. Gordon an opportunity to conduct his desired legal

research, the Court will not extend Mr. Gordon’s deadline to file a § 2255 motion. 1


1
   The Second Circuit has held in a published decision that district courts do not possess jurisdiction to
extend the § 2255 deadline because there is no “case or controversy” until the § 2255 motion is filed.
United States v. Leon, 203 F.3d 162, 164 (2d Cir. 2000). The Fourth, Fifth, Sixth, Eleventh, and D.C.
Circuits have held the same in unpublished decisions. See United States v. White, 257 F. App’x 608, 609
(4th Cir. 2007); United States v. McFarland, 125 F. App’x 573, 574 (5th Cir. 2005); United States v.

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        IT IS THEREFORE ORDERED that Defendant Brandon Gordon’s pro se motion

requesting the Court reconsider its earlier denial of § 2255 counsel and requesting an

extension of time in which to file his § 2255 motion (Doc. 124) is DENIED.

        DATED: March 7th, 2022.

                                                           _________________________________
                                                           Scott W. Skavdahl
                                                           United States District Court Judge




Moore, 56 F. App’x 686, 687 (6th Cir. 2003); United States v. Hernandez, 431 F. App’x 813, 814 (11th Cir.
2011); United States v. Glover, 2006 WL 3798926 (D.C. Cir. June 27, 2006). In contrast, the Third Circuit
has held in a published decision that district courts do possess such jurisdiction because the § 2255 motion
is considered a continuation of the underlying criminal case. See United States v. Thomas, 713 F.3d 165,
173-74 (3d Cir. 2013). It appears neither the Ninth Circuit nor the U.S. Supreme Court have decided the
issue. See United States v. Myrie, No. 2:06-CR-00239-RCJ, 2012 WL 2847747, at *3 (D. Nev. July 11,
2012) (“There is currently no guiding precedent from the Ninth Circuit or the U.S. Supreme Court
regarding the scope of the Court's power to extend the time for a petitioner to file a § 2255 motion, with the
notable exception of equitable tolling.”). The Court need not decide the question here because Mr. Gordon
has sufficient time to file a § 2255 motion in this case. See United States v. Schlake, No. CR
06-51-M-DWM, 2010 WL 11672531, at *1 (D. Mont. Jan. 29, 2010) (petitioner filed a timely § 2255
motion and requested additional time to file a supplement in support of the motion, which the district court
granted).


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